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EXHIBIT A

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 ALJAZEERA

How a case against Israel officials helped
Saudi Arabia

‘False alarm’ war crime case was used by lobbyists to try and
influence US politicians into revoking law Riyadh opposed.

Creede Newton12 Aug 2017 10:40 GMT

A US lawyer with ties to Saudi Arabia filed a "false alarm" lawsuit against senior Israeli and Trump
administration officials, which helped the country's lobbying efforts against legislation that allows US citizens
to sue Riyadh over the September 11 attacks.

Al Jazeera has discovered that Martin McMahon, who filed the complaint in February at a district court, has
connections to Saudi Arabia dating back to at least 2003.

The lawsuit alleges the Israeli Prime Minister Benjamin Netanyahu, former foreign minister Tzipi Livni, the
Trump administration's ambassador to Israel, David Friedman, and the Kushner Family Foundation, the
charity of Trump's son-in-law and senior adviser Jared Kushner all committed or financed war crimes in
violation of the Justice Against Sponsors of Terrorism Act (JASTA).

JASTA is an amendment to the Foreign Sovereign Immunities Act (FSIA) that limited foreign states’ immunity
to lawsuits brought by US citizens in relation to support for "acts of terrorism". It became law in September
2016 after a veto from then-president Obama was overridden by US Congress.

The complaint against Israeli and Trump-related officials was then used by Saudi lobbyists to show members

of Congress how a key ally could be put at risk by JASTA, according to Brian McGlinchey, editor of
28pages.org.

‘Shaky lawsuit’

McGlinchey told Al Jazeera he became aware of the suit because it "was used as a talking point" for anti-
JASTA lobbyists on Capitol Hill.

"They pointed to the complaint and said, 'Here are the unintended consequences," he said, explaining the
lawsuit was used as an example of a US ally put at risk of legal action.

McGlinchey noted the February lawsuit appeared to have been made on weak grounds.

"When you looked at the actual complaint, the State of Israel isn't named,” he said. "It seemed a shaky
invocation of JASTA."

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The amendment only applies to foreign states and related entities, not individuals, as in the lawsuit.

According to 28pages, a "false alarm" complaint refers to a lawsuit seemingly filed for the purpose of
providing lobbyists with another piece of ammunition to argue for their specific goal.

Others called into question the text of the suit itself, which is "long and rambling", according to William
Dodge, a professor of law at the University of California's Davis School of Law and member of the US
Department of State's Advisory Committee on International Law.

"There's been a lot of litigation around foreign official immunity recently," Dodge said in an interview, naming
several cases that are testing the limits of the immunity granted to officials such as a case brought against
Muhammad Al Samantar, Somalia's prime minister from 1988 to 1990 under Somali strongman Siad Barre.

Samantar admitted to ordering extrajudicial torture and killings, the Department of State decided he was not
immune, though it wasn't an absolute ruling.

Still, "None of [the litigation] is around JASTA, because JASTA doesn't affect foreign officials. None of this
depends on the passage of JASTA," Dodge explained. "Just because you name JASTA in a complaint
doesn't mean it will be seriously considered."

Robert Tolchin, a lawyer representing an accounting firm named in McMahon's lawsuit for working with the
Kushner Family Foundation, which donates to Israeli settlement organisations in the occupied West Bank, is
similarly confused by what he called the “legal mumbo jumbo" contained in the text.

According to a motion to dismiss filed by Tolchin, McMahon did not meet basic legal requirements of giving
street addresses for the plaintiffs, using instead the city or country in which they live.

McMahon responded with an affidavit from Miko Peled, an anti-occupation Israeli activist and author living in

the United States, which said "locating an individual address in Palestine is a very difficult task" because of
an "uncertain" postal system.

Tolchin filed another response saying many of the plaintiffs listed in the suit, including Peled, live in the US,
so the reasoning remained without merit. His research also found 13 plaintiffs were killed by Israeli forces.

No representatives of the estates of the deceased have been named, Tolchin wrote, and the deceased "do
not have standing to sue in their own name simply because a lawyer has decided to name them as
plaintiffs”.

Several of the living plaintiffs declined to be interviewed for this article, others did not respond to Al Jazeera's
request for comment.

Al Jazeera asked Tolchin for his take on the legislation, to which he replied, "I'm not sure who's paying him to
file these complaints, but I'm sure someone is."

Saudi connections

While it's not known who, if anyone, pays for the time required to file the complaints, Al Jazeera has learned
that McMahon has a history of working for Saudi interests.

The lawyer worked as a lobbyist for the Dallah al-Baraka Holding Company, a Saudi conglomerate, on the
issues of banking, foreign relations, and law enforcement from March 2003 to August 2006, according to

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lobbying disclosures.

Al-Baraka is one of the largest business holdings in the Middle East with investments in banking, healthcare,
manufacturing and many other sectors. It has also been accused of providing funds to the 19 al-Qaeda
hijackers responsible for the September 11, 2001 attacks in a complaint filed in 2003.

The suit alleges that al-Baraka bank provided Osama bin Laden, a Saudi national and one of the founders of
al-Qaeda who is accused of planning of the attacks, with "financial infrastructures in Sudan beginning in
1983" and continuing for decades.

It also claims that Omar al-Bayoumi, a Saudi national who allegedly befriended two of the hijackers and
provided them with monetary support after they entered the US, was assistant to the Director of Finance for
Dallah Avco, an aviation holding of al-Baraka, according to an application for a PhD programme.

Another lawsuit filed against al-Baraka alleges the conglomerate gave donations to al-Haramain Foundation,
a Saudi charity, that funnelled financial support to al-Qaeda, even after the events of September 11,
according to a CBS News report from 2004. The US Department of the Treasury found direct ties between
al-Haramain and al-Qaeda that year.

These and many other, similar suits were merged by August 1, when Saudi Arabia's lawyers filed a motion to
dismiss legal action against the kingdom. McMahon currently serves as the defence lawyer for Wael
Jalaidan, one of the original founders of al-Qaeda, in one of these cases.

Jalaidan, a Saudi national, was named "an associate of Usama bin Laden and a supporter of [al-Qaeda]" in
2002 by the US Treasury and Saudi Arabia, resulting in the freezing of his assets.

As recently as June 2017, McMahon was working to release funds from Jalaidan's Swiss bank accounts in
order to secure payment for lawyer fees, according to emails between the lawyer and the US Treasury's
Office of Foreign Assets Control entered into public record.

McMahon did not respond to a request for comment.

Al Jazeera spoke with Timothy LaPira, associate professor of political science at James Madison University
and author of numerous works on lobbying, about the use of lawsuits to influence legislators.

"A lawsuit that isn't going anywhere? | haven't heard of lobbyists using anything like this," LaPira said, going
on to say that lobbyists depend on their credibility.

Such a lawsuit wouldn't get far with legislators, he concluded.
‘Insidious’ campaign

However, Saudi Arabia has resorted to new techniques in its lobbying campaign, according to Terry Strada,
the chairperson of the 9/11 Families & Survivors United for Justice Against Terrorism and widow of Tom
Strada, one of the nearly 3,000 people who died in the attack on the Twin Towers.

She filed a 17-page complaint with the Department of Justice in March that alleged Saudi Arabia's
"unprecedented foreign influence campaign" used "insidious, deceptive foreign propaganda" to try to amend
or repeal JASTA.

The "insidious" propaganda was a Saudi campaign at the beginning of 2017 to recruit and fly US veterans to
Capitol Hill to lobby against JASTA without informing them of who was paying for their travels.

The Saudi government retained the services of DC public relations firm Qorvis MSLGROUFP to oversee this

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campaign.
Not only was the campaign misleading to the veterans, but it may have put them in legal jeopardy.

The US Foreign Agents Registration Act (FARA) requires anyone who represents the interest of foreign
states in a "political or quasi-political capacity” to disclose their relationship or face fines and possible jail
time.

READ MORE: Saudi Arabia seeks to end US lawsuits over 9/11 attacks

In spite of these penalties, FARA goes notoriously unenforced. Democrats_introduced a bill on August 1 to
strengthen enforcement of the act.

The complaint asked Attorney General Jeff Sessions to conduct "an immediate national security investigation
to determine the scope and breadth of involvement and prosecute any criminal violations of FARA, or other
federal law".

Strada told Al Jazeera she hasn't heard much regarding Saudi lobby activities since the plot behind the
veterans was uncovered. "I think they're trying to distract people ... Now they're pointing the finger at Qatar."

While she hasn't heard from the Saudi lobby recently, she expects further campaigns. Strada said she knows
they've "got something up their sleeve".

Source: Al Jazeera News

United States Saudi Arabia Politics
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